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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 STATE FARM FIRE AND CASUALTY                      )
 COMPANY, as subrogee of TALUS                     )
 PROPERTIES, INC., and MELROSE                     )
 MIDTOWN, LLC,                                     )
                                                   )
         Plaintiff,                                )     Case No. 2:19-cv-2330-JPM-cgc
                                                   )
 TALUS PROPERTIES, INC. and                        )
 MELROSE MIDTOWN, LLC                              )
                                                   )
         Intervening Plaintiffs,                   )
                                                   )
 v.                                                )
                                                   )
 JOSE ALFREDO SANDOVAL,                            )
                                                   )
        Defendant.                                 )


ORDER GRANTING MOTION FOR LEAVE TO FILE AN AMENDED COMPLAINT



       Before the Court is Plaintiff State Farm Fire and Casualty Company’s Consent Motion

to Amend the Complaint filed on April 28, 2020. (ECF No. 36.) Plaintiff State Farm moves

the Court pursuant to Federal Rules of Civil Procedure 16(b)(4) and 15(a)(2) to amend its

Complaint. (Id.) Plaintiff indicates that it has the “the written consent of all parties” to file

the Amended Complaint. (Id. at PageID 135, 137.) For good cause shown and because the

Parties do not oppose the Motion, the Court GRANTS the Motion.


       SO ORDERED, this 30th day of April, 2020.

                                                         /s/ Jon P. McCalla
                                                        JON P. McCALLA
                                                        UNITED STATES DISTRICT JUDGE
